                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 COURTNEY WAYNE WALDEN,                          )
                                                 )
                Petitioner,                      )
                                                 )
 v.                                              )      Nos: 3:10-cr-110
                                                 )           3:13-cv-647
 UNITED STATES OF AMERICA,                       )           (VARLAN/GUYTON)
                                                 )
                Respondent.                      )


                                    JUDGMENT ORDER

        In accordance with the accompanying Memorandum, petitioner's motions to modify

 sentence are DENIED. Petitioner's motion to vacate, set aside or correct sentence pursuant

 to 28 U.S.C. § 2255 is DENIED WITHOUT PREJUDICE. The Clerk is DIRECTED to

 close the civil file.

                ENTER:


                                     s/ Thomas A. Varlan
                                     CHIEF UNITED STATES DISTRICT JUDGE

 ENTERED AS A JUDGMENT

      s/ Debra C. Poplin
      CLERK OF COURT




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